                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

 Date: March 29, 2024               Time: 11:03 – 11:05              Judge: SUSAN ILLSTON
                                    2 Minutes
 Case No.: 16-cr-00227-SI-5         Case Name: United States v. Alexander Vinnik

Attorney for Government: Claudia Quiroz, Katherin Lloyd-Lovett, Alden Pelker
Attorney for Defendant: Aleksandr Gruzman
Defendant: [X ] Present [ ] Not Present
Defendant's Custodial Status: [X ] In Custody [ ] Not in Custody

  Deputy Clerk: Esther Chung                          Court Reporter: Lee Ann Shortridge
  Interpreter: Marina Brodskaya                       Probation Officer: n/a

                                       PROCEEDINGS

Status Conference – Held.

                                          SUMMARY

The parties requested that a Change of Plea Hearing date be set. The Court set the hearing as
requested.

CASE CONTINUED: 5/3/2024 at 11:00 AM for Change of Plea
